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  1    Tomas A. Guterres, Esq. (State Bar No. 152729)
       Chandler A. Parker, Esq. (State Bar No. 277902)
  2
       COLLINS + COLLINS LLP
  3    790 E. Colorado Boulevard, Suite 600
       Pasadena, CA 91101                                       8/19/21
  4
       Email: Tguterres@ccmslaw.com
  5    Email: Cparker@ccmslaw.com
       (626) 243-1100 – FAX (626) 243-1111                      LINK 58
  6

  7    Attorneys for Defendants,
       COUNTY OF LOS ANGELES, DEPUTY J. SANDOVAL,
  8
       DEPUTY C. ADAMS and DEPUTY J. FERNANDEZ
  9
                           UNITED STATES DISTRICT COURT
  10
                            CENTRAL DISTRICT OF CALIFORNIA
  11   DORRELL SLAUGHTER, an               ) CASE NO.: 2:20-CV-00393-PSG-JPR
       individual,                         ) [Assigned to Judge Philip S. Gutierrez,
  12
                                           ) Courtroom 6A]
  13                Plaintiff,             )
                                           ) [PROPOSED] FINAL JUDGMENT
  14
       vs.                                 )
  15                                       )
       DEPUTY S. FERNANDEZ, an             )
  16
       individual and Deputy of the Los    )
  17   Angeles Sheriff’s Department;       )
       DEPUTY J. SANDOVAL, , an            )
  18
       individual and Deputy of the Los    )
  19   Angeles Sheriff’s Department;       )
       DEPUTY C. ADAMS, an individual )
  20
       and Deputy of the Los Angeles       )
  21   Sheriff’s Department; DEPUTY J.     )
       FERNANDEZ, an individual and        )
  22
       Deputy of the Los Angeles Sheriff’s )
  23   Department; COUNTY OF LOS           )
       ANGELES, a public entity; and DOES )
  24
       1 to 20,                            )
  25                Defendants.            )
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                                           )

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                              [PROPOSED] FINAL JUDGMENT
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  1    On August 3, 2021, this Court entered an order granting a motion for summary judgment
  2    and dismissing all claims by Plaintiff DORRELL SLAUGHTER. (Dkt. 57). The
  3    evidence presented having been fully considered, the issues having been duly heard and
  4    a decision having been duly rendered, IT IS ORDERED AND ADJUDGED that
  5    Plaintiff DORRELL SLAUGHTER take nothing, that the action be dismissed on the
  6    merits, and that Defendants recover their costs.
  7

  8
       IT IS SO ORDERED.
  9
                   8/19/21
  10 DATED: _______________             ______________________________________
                                        HON. PHILLIP S. GUTIERREZ
  11
                                        JUDGE OF UNITED STATES DISTRICT COURT
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                                [PROPOSED] FINAL JUDGMENT
